









Dismissed and Memorandum Opinion filed August 4, 2005









Dismissed and Memorandum Opinion filed August 4, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00443-CR

____________

&nbsp;

CARLOS JUAN MENDOZA,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
176th District Court

Harris County, Texas

Trial Court Cause No. 943,371

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of aggravated
sexual assault of a child.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
sentenced appellant on March 29, 2005, to confinement for five years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed August 4, 2005.

Panel consists of Justices Hudson,
Frost, and Seymore.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





